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                   United States Court of Appeals
                                 FIFTH CIRCUIT
                              OFFICE OF THE CLERK
LYLE W. CAYCE                                                    TEL. 504-310-7700
CLERK                                                         600 S. MAESTRI PLACE,
                                                                      Suite 115
                                                             NEW ORLEANS, LA 70130

                              April 11, 2023
MEMORANDUM TO COUNSEL OR PARTIES LISTED BELOW:
      No. 23-10362      Alliance Hippocratic Medicine v. FDA
                        USDC No. 2:22-CV-223

Enclosed is an order entered in this case.


                                  Sincerely,
                                  LYLE W. CAYCE, Clerk


                                  By: _________________________
                                  Majella A. Sutton, Deputy Clerk
                                  504-310-7680
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